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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)

 UNITED STATES OF AMERICA,                    )
                                              )
        Plaintiff,                            )     Criminal Action No. 6: 09-16-S-DCR
                                              )
 V.                                           )
                                              )
 STANLEY BOWLING,                             )       MEMORANDUM OPINION
                                              )           AND ORDER
        Defendant.                            )

                                    *** *** *** ***

       This matter is pending for consideration of Defendant Stanley Bowling’s motion to

dismiss the indictment against him. [Record No. 367] In support of his motion, Bowling

asserts that the United States used certain information provided to a grand jury pursuant to

18 U.S.C. § 6002 in violation of Kastigar v. United States, 406 U.S. 453 (1972). A hearing

was conducted on the Defendant’s motion on September 28, 2009. Based on the information

provided by the parties prior to and during this hearing, the Court concludes that the United

States has not utilized Defendant Bowling’s immunized testimony, directly or indirectly, in

a manner that would violate his right against self-incrimination. Accordingly, his motion will

be denied.

       I.     Relevant Facts

       Defendant Stanley Bowling appeared before a federal grand jury on January 12, 2007,

in Covington, Kentucky, after asserting his Fifth Amendment right against self-incrimination

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and after being afforded formal immunity pursuant to 18 U.S.C. § 6002. [See Record No.

444; attachments.] During the course of the grand jury proceeding, Bowling testified to an

illegal kick-back scheme with Manchester City Manager Keenon White. Subsequently,

Keenon White entered a guilty plea to an information containing charges which did not

allege involvement by Defendant Bowling.

        On July 19, 2009, a Superseding Indictment was returned in this case adding Bowling

as an additional Defendant.1 The original and Superseding Indictment relate to an alleged

election fraud scheme in which voters were bribed to vote for a “slate” of candidates. Each

Defendant is alleged to have participated in the scheme in a variety of ways. Bowling was

named in three counts of the Superseding Indictment. First, in Count 1, Bowling was

charged as a participant in a RICO conspiracy with seven other Defendants. In paragraph

8, the Superseding Indictment alleges that Defendant Bowling, at relevant times,

        was a resident of . . . [Clay County] . . . and was active in the political affairs
        of the county by, among other acts, elected as Magistrate in 2002 and
        continues to serve in that position, and is the owner and operator of B and B
        Excavating, an excavating company, in Manchester and Clay County which
        contracts with the city and county to provide excavation services. Bowling
        also distributed money to bribe voters and exerted influence over the selection
        of precinct workers in local elections.

[Record No. 272]

        The Clay County Board of Elections is alleged to be the RICO enterprise. It is alleged

in paragraph 10 that the Defendants, including Bowling, participated in the operation and

1
        Defendant Bowling was interviewed on March 21, 2006, as part of the election fraud investigation.
According to Special Agent Briggs, Bowling denied any involvement in the scheme. In fact, the government
did not obtain any information from Bowling that led to the election fraud charges.

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management of the enterprise. Further, in paragraph 12 f., Bowling’s role in the enterprise

is described as an associate of the enterprise who distributed funds pooled by members of the

scheme to buy votes for the “slate” and to promote himself politically and enrich himself

personally. [Record No. 272]

       In Count 12 of the Superseding Indictment, the United States seeks forfeiture in the

amount of $3,472,847.38 (i.e., a money judgment) from all Defendants pursuant to 18 U.S.C.

§ 1963 and 28 U.S.C. § 2461(c). Finally, in Count 13, the government seeks forfeiture in the

amount of $1,513,512.36 from Bowling and his co-Defendants under 18 U.S.C. § 982.

       On August 17, 2009, Defendant Bowling moved for dismissal of the Superseding

Indictment as it relates to him. Bowling contends that, on January 12, 2007, he testified

before the Covington grand jury to obtaining a number of governmental construction

contracts for his business, B & B Excavating Company beginning in 2004 or 2005. He

asserts that the contracts were signed by the then-Mayor, Daugh White, but were negotiated

by the Mayor’s son and City Manager, Keenon White. Bowling asserts that he testified

under a grant of immunity that the City Manager extorted kick-backs as part of the contract

negotiations.

       Bowling asserts that, as a result of his grand jury testimony, the United States was able

to approach Keenon White and his wife and enlist their assistance as confidential informants

in the investigation which led to the present case. Citing Kastigar v. United States, 406 U.S.

441 (1972), he contends that the United States has violated its immunity agreement because

nothing derived from his testimony may be used against him.

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        In response to the Defendant’s motion, the United States filed under seal a copy of

Bowling’s January 12, 2007, testimony before a Covington, Kentucky, grand jury. It has also

filed under seal a copy of F.B.I. Special Agent Timothy Briggs’ July 19, 2009, testimony

before a London, Kentucky, grand jury which returned the Superseding Indictment naming

Bowling as a Defendant.2 The United States asserts that it has not violated Bowling’s grant

of immunity. Instead, it argues that the evidence used to obtain his indictment came from

legitimate, independent sources and was not the direct or indirect result of Bowling’s January

12, 2007, testimony.

        A hearing on Defendant Bowling’s motion was held on September 28, 2009. During

the hearing, the United States presented the testimony of two witnesses: F.B.I. Special Agent

Timothy Briggs and Brent Caldwell, the attorney representing Kennon and Wanda White.

Portions of their testimony are outlined below.

        II.     Legal Analysis

        Under Kastigar v. United States, 406 U.S. 441 (1972), once a defendant establishes

that he has testified under a grant of immunity to matters related to a federal prosecution, the

government has the burden of demonstrating that its evidence against him is not tainted.



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         Following the hearing held on September 28, 2009, the United States filed under seal the testimony
of an IRS Special Agent who investigated each Defendant’s financial gain resulting from his or her alleged
involvement in the RICO conspiracy. All of Bowling’s contracts with the City of Manchester as well as the
money he received as a magistrate are included in this testimony and in the total forfeiture amount requested
in Count 12. However, there is no indication that this agent utilized Bowling’s January 12, 2007, Covington
grand jury testimony in obtaining the information presented to the London grand jury. Instead, his testimony
appears to be based upon his own research and investigation of the money received by each Defendant as a
result of his or her government contracts and/or official position.

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Specifically, the United States must show by a preponderance of evidence that it had a

legitimate, independent source for the evidence used against the defendant. This is because

the immunity provided by 18 U.S.C. § 6002 leaves the witness and the government in

substantially the same position as if the witness had claimed the Fifth Amendment privilege.

In other words, “the immunity is . . . coextensive with the privilege and suffices to supplant

it.” Id. at 462. Further, as the Sixth Circuit has recognized, the government’s burden under

Kastigar is “a heavy one.” United States v. Overmyer, 899 F.2d. 457, 463 (6th Cir. 1990).

        The United States has met its “heavy burden” by providing copies of the relevant

portions of grand jury testimony and through the testimony of Briggs and Caldwell.3

According to Special Agent Briggs, the January 12, 2007, testimony of Defendant Bowling

was not used or in any way referenced in obtaining the cooperation of Keenon or Wanda

White in the investigation leading to Bowling’s indictment. Instead, the United States had

sufficient information by January 12, 2007, to charge Kennon White with federal offenses.

The information provided by Bowling was described by Special Agent Briggs as “the icing

on the cake” which could be used if White later changed his story. And because he did not,

the information was not used against him.

        Further, the information Bowling provided to the Covington grand jury was not even

disclosed to the Whites or their attorney, Brent Caldwell. According to attorney Caldwell,


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         As noted previously, the United State utilized a separate grand jury in Covington, Kentucky, to
receive the testimony of Defendant Bowling on January 12, 2007. The current matter was presented to a
separate grand jury in London, Kentucky, which returned the Superseding Indictment. The United States
utilized another grand jury in Lexington, Kentucky with respect to other Defendants originally indicted in
this case.

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he was not aware that Bowling had given testimony against his clients until the September

28, 2009 hearing. Special Agent Briggs also confirmed that the Whites’ cooperation did not

lead to Bowling’s indictment.4 Although it is expected that the information obtained by the

Whites will be important to the government’s case against several Defendants in the present

case, Special Agent Briggs identified a number of witnesses who have and are expected to

implicate Defendant Bowling in the alleged vote buying/voter fraud.

        III.    Conclusion

        The government has demonstrated that its evidence against Bowling is not tainted by

his grand jury testimony. It has not used his immunized testimony, either directly or

indirectly, in a manner that would violate is right against self-incrimination. Instead, the

United States has shown that it has independent, legitimate sources for the evidence used to

obtain his indictment. Accordingly, it is hereby

        ORDERED that Defendant Stanley Bowling’s motion to dismiss the indictment

against him [Record No. 367] is DENIED.

        This 29th day of September, 2009.




4
         Special Agent Briggs’ testimony before the London grand jury on July 9, 2009, does reference the
illegal kick-back scheme involving Keenon White. However, that testimony identifies several witnesses
implicating Bowling in illegal vote buying and voter fraud activities (including testimony provided by Wanda
White). Further, by the time of Special Agent Briggs’ testimony, both Keenon and Wanda White had
provided independent information against Bowling and others. This information was not the result of
Bowling’s grand jury testimony.

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